 1                                                                        The Honorable Brian D. Lynch
                                                                                             Chapter 7
 2
                                                                                     Location: Tacoma
 3
                                 UNITED STATES BANKRUPTCY COURT
 4                               WESTERN DISTRICT OF WASHINGTON
 5
      In re:                                             No. 19-42935
 6
      JASON ALLAWAY,
 7
 8                                     Debtor.

 9    KATHRYN A. ELLIS, Chapter 7 Trustee of
      the Estate of Jason Allaway,                       Adv. No.
10
11                                     Plaintiff,        STIPULATION

12    vs.

13    KYONGI ALLAWAY,
14
                                       Defendant.
15
16             COME NOW the parties, Plaintiff, Kathryn A. Ellis, and Defendant Kyongi Allaway, and
17   stipulate and agree as follows:
18
               1.     Plaintiff, Kathryn A. Ellis, is the duly appointed and acting Chapter 7 Trustee in
19
     the Chapter 7 Bankruptcy Petition of the debtor above named.
20
21             2.     The debtor, Jason Allaway, filed the present Chapter 7 Bankruptcy Petition on

22   September 12, 2019.

23             3.     Defendant Kyongi Allaway resides in the State of Washington, County of Pierce.
24
               4.     On or about February 2, 2015, the debtor and Defendant, as husband and wife,
25
     acquired the property located at 13020 116th Ave Ct E, Puyallup, WA (APN 6026101200) by
26
     Statutory Warranty Deed. The property referred to above is hereinafter referred to as “The
27
                                                                                KATHRYN A. ELLIS PLLC
28                                                                                      5506 6th Ave S
                                                                                           Suite 207
                                                                                      Seattle, WA 98108
     STIPULATION - 1                                                                   (206) 682-5002


Case 20-04049-BDL          Doc 3     Filed 07/20/20     Ent. 07/20/20 13:55:43       Pg. 1 of 2
 1   Property”.
 2
               5.         The estate of the debtor and Defendant hold an undivided interest in The
 3
     Property.
 4
               6.         The Property is encumbered by mortgages that exceed its value. Defendant
 5
 6   consents to the sale, including the short sale, of The Property.

 7             7.         The Property is not capable of partition or partition is impracticable.

 8             8.         Sale of the bankruptcy estate’s undivided interest in The Property would realize
 9
     significantly less for the bankruptcy estate than would sale of The Property free and clear of the
10
     interest of Defendant.
11
               9.         The benefit to the bankruptcy estate of a sale of The Property free and clear of
12
13   Defendant’s interest outweighs the detriment, if any, to Defendant.

14             10.        The Property is not used in the production, transmission or distribution, for sale,

15   of electric energy or of natural or synthetic gas for heat, light or power.
16
               11.        Plaintiff is therefore entitled to an order, pursuant to 11 U.S.C. § 363 (h),
17
     authorizing the sale of both the bankruptcy estate’s interest and Defendant’s interest in The
18
     Property.
19
20             12.        The amount of Defendant’s undivided interest is zero, as The Property is over-

21   encumbered.
22             SO STIPULATED this 29th day of June, 2020.
23
24
     /s/ Kathryn A. Ellis                                                        /s/ Kyongi Allaway
25   Kathryn A. Ellis, Plaintiff                                                 Kyongi Allaway, Defendant
26   C:\Shared\OneDrive - Kathryn A Ellis\Shared\KAE\Dox\TRUSTEE\Allaway\cmp\363\Stipulation.wpd


27
                                                                                                   KATHRYN A. ELLIS PLLC
28                                                                                                        5506 6th Ave S
                                                                                                             Suite 207
                                                                                                        Seattle, WA 98108
     STIPULATION - 2                                                                                     (206) 682-5002


Case 20-04049-BDL                  Doc 3        Filed 07/20/20              Ent. 07/20/20 13:55:43    Pg. 2 of 2
